Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 1 of 8 PageID #: 11324




                         Exhibit 2
          Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 2 of 8 PageID #: 11325




From:                              Geraldine W. Young
Sent:                              Friday, March 29, 2024 2:57 PM
To:                                SALEM, Sara; 'Audrey Moore'; Zeke DeRose III; Jonathan Wilkerson; Alex J. Brown; Marc
                                   B. Collier; John McBride; Peter M. Hillegas; Trevor E. D. Young
                                   (trevor.young@oag.texas.gov); Noah Heinz; Zina Bash; Joseph M. Graham Jr.; Ashley
                                   Keller; Brooke Smith; jdugan@dugan-lawfirm.com
Cc:                                SESSIONS, Justina (JKS); Bradley Justus; Paul Yetter; Bracewell, Mollie; MAHR, Eric (EJM);
                                   MCCALLUM, Robert; ELMER, Julie (JSE); John Harkrider; Daniel Bitton;
                                   jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli; Bryce Callahan; EWALT,
                                   Andrew (AJE)
Subject:                           RE: State of Texas v Google - Deposition Notices


Counsel,

See below bates numbers for documents referencing and/or associated (custodian) with Mr. Brin and Pichai. As we
discussed and you acknowledge in your email below, this is meant only as a sampling of documents, is not all of the
documents the States have identified, and is without prejudice to the States presenting additional documents to the
Court, if needed, and in any depositions.

          Brin: GOOG-NE-01787563; GOOG-TEX-01068770
          Pichai: GOOG-DOJ-19087611; GOOG-DOJ-28505483; GOOG-DOJ-AT-01901774; GOOG-AT-MDL-016678498;
           GOOG-DOJ-16537021




From: Geraldine W. Young
Sent: Thursday, March 28, 2024 8:25 AM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown
<Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D.
Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>;
Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley
Keller <ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Confirmed that we are still conferring, including on dates for their depos in lieu of the noticed dates. Thanks, Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Wednesday, March 27, 2024 11:09 PM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; 'Audrey Moore'
<Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
                                                              1
        Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 3 of 8 PageID #: 11326
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Geraldine –

Thank you for meeting and conferring with us today regarding Plaintiffs deposition notices to Mr. Brin and Mr. Pichai. To
make sure we are all on the same page, I write to confirm our discussion re timing of Google’s motion for a protective
order.

Plaintiffs agreed to provide, by Friday, a sampling of documents that they believe support their position that Mr. Brin and
Mr. Pichai have unique personal knowledge about the DoubleClick acquisition. We expressed concern about waiting that
long to move because Plaintiffs noticed Mr. Brin’s deposition for April 3. Plaintiffs confirmed that the April 3 date is a
placeholder, and they are willing to work with Google on reasonable dates. Plaintiffs agreed that if we wait for them to
send us a sampling of documents, Plaintiffs will not then argue that Google’s motion is untimely.

We write to confirm our agreement that Plaintiffs will hold the April 3 and April 10 deposition notice dates for Mr. Brin and
Mr. Pichai in abeyance while we continue to meet and confer regarding these depositions. Please confirm no later than
12:00 CT tomorrow.

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Wednesday, March 27, 2024 2:18 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown
<Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D.
Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>;
Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley
Keller <ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

We are available at 4 CT today.
                                                              2
      Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 4 of 8 PageID #: 11327


From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Wednesday, March 27, 2024 10:06 AM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; 'Audrey Moore'
<Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Counsel –

We would like to meet and confer again regarding your deposition notices to Mr. Brin and Mr. Pichai. Are you available to
discuss today between 3-5pm CT / 4-6pm ET?

Thanks,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Friday, March 22, 2024 6:37 PM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown
<Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D.
Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>;
Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley
Keller <ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

We can talk at noon on Monday. Thanks, Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Friday, March 22, 2024 10:30 AM
To: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; 'Audrey Moore'
                                                            3
      Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 5 of 8 PageID #: 11328
<Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices

Hi Geraldine –

We are available to meet and confer Monday at 8am CT or 12pm CT.

Thanks,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Sent: Friday, March 22, 2024 8:51 AM
To: SALEM, Sara <Sara.Salem@freshfields.com>; 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III
<zeke.derose@lanierlawfirm.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown
<Alex.Brown@LanierLawFirm.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride
<john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D.
Young (trevor.young@oag.texas.gov) <trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>;
Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley
Keller <ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com; dpearl@axinn.com; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan
<bcallahan@yettercoleman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>
Subject: Re: State of Texas v Google - Deposition Notices

Sara - That time does not work for us today. We can talk Monday afternoon or Tuesday morning - let us know times that
work then.

Thanks, Geraldine

From: SALEM, Sara <Sara.Salem@freshfields.com>
Sent: Thursday, March 21, 2024 6:45:42 PM
To: 'Audrey Moore' <Audrey.Moore@LanierLawFirm.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>;
Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>;
Marc B. Collier <marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>;
                                                          4
        Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 6 of 8 PageID #: 11329
Peter M. Hillegas <peter.hillegas@nortonrosefulbright.com>; Trevor E. D. Young (trevor.young@oag.texas.gov)
<trevor.young@oag.texas.gov>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Zina Bash
<zina.bash@kellerpostman.com>; Joseph M. Graham Jr. <joseph.graham@nortonrosefulbright.com>; Ashley Keller
<ack@kellerpostman.com>; Brooke Smith <brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com
<jdugan@dugan-lawfirm.com>; Geraldine W. Young <geraldine.young@nortonrosefulbright.com>
Cc: SESSIONS, Justina (JKS) <Justina.Sessions@freshfields.com>; Bradley Justus <bjustus@axinn.com>; Paul Yetter
<pyetter@yettercoleman.com>; Bracewell, Mollie <mbracewell@yettercoleman.com>; MAHR, Eric (EJM)
<Eric.MAHR@freshfields.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; ELMER, Julie (JSE)
<Julie.Elmer@freshfields.com>; John Harkrider <jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>;
jhunsberger@axinn.com <jhunsberger@axinn.com>; dpearl@axinn.com <dpearl@axinn.com>; Ali Vissichelli
<avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>; EWALT, Andrew (AJE)
<Andrew.Ewalt@freshfields.com>
Subject: RE: State of Texas v Google - Deposition Notices


[External Email – Use Caution]


Counsel –

We would like to meet and confer with you regarding your deposition notices to Mr. Brin and Mr. Pichai. We will respond
separately regarding the other notices that you served on Tuesday night.

Are you available tomorrow between 3 and 4 CT?

Best,
Sara

Sara Salem
Senior Associate
T +1 202 777 4529 | M +1 202 853 0381



From: Audrey Moore <Audrey.Moore@LanierLawFirm.com>
Sent: Tuesday, March 19, 2024 9:40:18 PM
To: Bradley Justus <bjustus@axinn.com>; Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie
<mbracewell@yettercoleman.com>; MAHR, Eric (EJM) <Eric.MAHR@freshfields.com>; MCCALLUM, Robert
<rob.mccallum@freshfields.com>; ELMER, Julie (JSE) <Julie.Elmer@freshfields.com>; John Harkrider
<jharkrider@axinn.com>; Daniel Bitton <dbitton@axinn.com>; dpearl@axinn.com <dpearl@axinn.com>; Ali Vissichelli
<avissichelli@axinn.com>; Ali Vissichelli <avissichelli@axinn.com>; Bryce Callahan <bcallahan@yettercoleman.com>;
EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; Bryce Callahan <bcallahan@yettercoleman.com>
Cc: Zeke DeRose III <Zeke.DeRose@LanierLawFirm.com>; Jonathan Wilkerson
<Jonathan.Wilkerson@LanierLawFirm.com>; Alex J. Brown <Alex.Brown@LanierLawFirm.com>; Marc B. Collier
<marc.collier@nortonrosefulbright.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Trevor Young <trevor.young@oag.texas.gov>; Noah Heinz
<Noah.Heinz@kellerpostman.com>; Zina Bash <zina.bash@kellerpostman.com>; Joseph M. Graham Jr.
<joseph.graham@nortonrosefulbright.com>; Ashley Keller <ack@kellerpostman.com>; Brooke Smith
<brooke.smith@kellerlenkner.com>; jdugan@dugan-lawfirm.com <jdugan@dugan-lawfirm.com>; Geraldine W. Young
<geraldine.young@nortonrosefulbright.com>
Subject: RE: State of Texas v Google - Deposition Notices

The Plaintiff States hereby serve the attached Notices of Deposition in the State of Texas et al. v. Google LLC
case, No. 4:20-cv-00957-SDJ.


                                                           5
      Case 4:20-cv-00957-SDJ Document 400-2 Filed 04/22/24 Page 7 of 8 PageID #: 11330

While the Plaintiff States have included dates, times, and locations for the noticed depositions, they are willing
to confer and work with Google on different dates, times, and locations as long as the depositions take place
well in advance of the fact discovery cutoff.

Thank you.

Zeke DeRose III




                          Audrey Moore
                          Paralegal
                          p: 713-659-5200
                          10940 West Sam Houston Pkwy N, Suite 100
                          Houston • Texas • 77064
                          www.LanierLawFirm.com




Audrey Moore - Paralegal p: 713-659-5200 w: www.LanierLawFirm.com

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